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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

UNITED STATES OF AMERICA        §
                                §
VS.                             § CRIMINAL NO. 4:08-CR-119-Y
                                §
ADRIAN PAUL PEREZ (28)          §
RUBEN ALEXANDER GUTIERREZ (29) §
BRIAN KEITH DOBBS (34)          §
SABRINA NICOLE SATTERFIELD (35) §
MICHAEL GREGORY WATKINS (36)    §

                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

        After reviewing all relevant matters of record, including the

respective Consents to Administration of Guilty Plea and Federal

Rule     of   Criminal    Procedure      11   Allocution      by   United    States

Magistrate Judge and the Report and Recommendation on Plea Before

the United States Magistrate Judge, and no objections thereto

having been filed by any defendant within ten (10) days of service

in accordance with 28 U.S.C. § 636(b)(1), the undersigned district

judge    concludes      that   each     report   and      recommendation    of   the

magistrate judge on each plea of guilty is correct, and each is

hereby accepted by the Court.           Accordingly, the Court accepts each

plea of guilty, and each and every defendant is hereby adjudged

guilty.       Each defendant’s sentence will be imposed in accordance

with the sentencing scheduling order previously issued as to each

defendant.

        SIGNED February 12, 2009.


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                                              TERRY R. MEANS
                                              UNITED STATES DISTRICT JUDGE
